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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                              Criminal No. 13-20203-2

       v.
                                                      Hon. George Caram Steeh
DESHONNA COLEMAN-PETERSON,

           Defendant.
________________________________/

        ORDER DENYING DEFENDANT’S MOTION TO AMEND JUDGMENT

       Defendant requests the Court amend its Judgment entered on August 21, 2014,

Doc. 75, to include a recommendation that she be admitted to the BOP Residential

Drug Treatment Program of the Bureau of Prisons. Contrary to the facts agreed upon at

sentencing, Defendant now claims she has a substance abuse problem requiring

treatment.

       The Court will deny this request for such a recommendation so that prison

officials can better evaluate the defendant’s suitability for admission to the program.

       IT IS SO ORDERED.

Dated: September 26, 2014
                                             s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE

                                   CERTIFICATE OF SERVICE

                    Copies of this Order were served upon attorneys of record on
                      September 26, 2014, by electronic and/or ordinary mail.

                                       s/Marcia Beauchemin
                                           Deputy Clerk
